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                                      ATTACHMENT A


                                   Property to Be Searched


The property to be searched is:

           a. A silver LG cellular telephone currently in MPD evidence under Inventory

               #20035997.

The Device is currently in evidence at the Milwaukee Police Department.

       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

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                                       ATTACHMENT B


                               Particular Things to be Seized


       1.      All records on the Device described in Attachment A that relate to violations of

Title 18, United States Code, Section 2119 (Carjacking), and Title 18, United States Code, Section

924(c) (Use of a Firearm during a Crime of violence) involving Jailen JENKINS-YATES or any

other subject, stored on the Device, to include:

            a. any information related to possession of firearms or ammunition (including

               photographs, text messages, emails, or any other communication information);

            b. any information recording any targetsಬschedule or travel;

            c. any web search information related to the offenses described above;

            d. photographs of locations evidencing pre-carjacking surveillance or vehicles or

               people related to the offenses described above;

            e. any information related to the proceeds from the carjacking described above;

            f. any communications via text messages, email, Facebook, Twitter, or other web-

               based applications between the subjects and others regarding the offenses

               described above; and

            g. all bank records, checks, credit card bills, account information, and other financial

               records.

       2.      Evidence of user attribution showing who used or owned the devices at the time the

things described in this warrant were created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history.




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       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of electronic storage and any photographic form.




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                                 AFFIDAVIT IN SUPPORT OF

                       AN APPLICATION FOR A SEACH WARRANT

       I, David Bianchi, being first duly sworn on oath, on information and belief state:

I.     INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE:

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since January 2020. Since September 2020, I have been assigned to FBIಬs Milwaukee Area Violent

Crimes Task Force, a multi-jurisdictional law enforcement entity charged with investigating

violations of federal law, including bank robberies, commercial robberies, armed motor vehicle

robberies, and other violent crime matters, defined under Title 18 of the United States Code. I have

been trained in a variety of investigative and legal matters, including the topics of Fourth

Amendment searches, the drafting of search warrant affidavits, and probable cause. I have

participated in criminal investigations, surveillance, search warrants, interviews, and debriefs of

arrested subjects. As a result of this training and investigative experience, I have learned how and

why violent actors typically conduct various aspects of their criminal activities.

       2.      Based upon my training and experience, I know that computer hardware and

software may be important to a criminal investigation in two distinct and important respects: (1)

the objects themselves may be instrumentalities, fruits, or evidence of crime, and/or (2) the objects

may have been used to collect and store information about crimes (in the form of electronic data).

Rule 41 of the Federal Rules of Criminal Procedure permits the government to search and seize

computer hardware and software which are (1) instrumentalities, fruits, or evidence of crime, or

(2) storage devices for information about crime.

       3.      To this end, based upon my training and experience, I know that individuals

involved in violent crimes use cellular telephones to maintain contact with co-conspirators aurally




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or via electronic message in ಯtext” format. I also know that it is common for suspects who commit

violent crimes to take or cause to be taken photographs and other visual depictions of themselves,

their associates, and the illegal proceeds and firearms that they control or possess.

       4.      Based on the investigation to date, I submit that there is probable cause to believe

that on September 29, 2020, Jailen JENKINS-YATES, Date of Birth (DOB): xx/xx/2000, engaged

in the armed motor vehicle robbery (carjacking) of Victim #1 located in the area of 4644 N 31st

Street, Milwaukee, Wisconsin. This offense is in violation of Title 18, United States Code, Section

2119 (Carjacking), and Title 18, United States Code, Section 924(c) (Use of a Firearm during a

Crime of violence). I also submit that there is probable cause to believe that the cellular telephone

located on JENKINS-YATES’ person at the time of arrest contains evidence to support the above

criminal violations.

       5.      Since the cellular telephone was seized from JENKINS-YATES on September 29,

2020, the device has been securely maintained in evidence with the Milwaukee Police Department.

The approximate two-week delay in obtaining a search warrant for device was due to affiant being

engaged in operational activity in conjunction with local police departments due to ongoing civil

unrest/protests in surrounding jurisdictions. In an effort to provide appropriate assistance, the

Federal Bureau of Investigation established a 24-hour command post with mandatory staffing that

affiant was assigned.

       6.      This affidavit is based upon my personal knowledge, my training and experience,

and on information reported to me by other state and local law enforcement officers during the

course of their official duties, all of whom I believe to be truthful and reliable. This affidavit is

also based upon police reports, physical surveillance, and witness statements that I consider to be




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reliable as set forth herein. The facts of this Affidavit are based upon information obtained from

my investigation, as well as information I have received from other law enforcement officers.

       7.       Because this affidavit is submitted for the limited purpose of a obtaining a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

attempted to set forth only the facts that I believe are pertinent to establishing the necessary

foundation for the warrant.

II.    IDENTIFICATION OF THE DEVICE TO BE EXAMINED


       8.       This affidavit is submitted in support of an application for a search warrant for the

following portable electronic device (ಯDevice”), which is currently in evidence at the Milwaukee

Police Department (ಯMPD”), for evidence of the userಬs possible involvement in the armed

carjacking described in detail below

             a. A silver LG cellular telephone currently in MPD evidence under Inventory

                #20035997.

       9.       The applied-for warrant would authorize the forensic examination of the Device for

the purpose of identifying electronically stored data particularly described in Attachment B.

III.   PROBABLE CAUSE

       10.      On September 29, 2020 at approximately 3:40 PM, Victim #1 drove her vehicle, a

2016 GMC Terrain bearing Wisconsin plates AGR9393, to the area of 4644 North 31st Street,

Milwaukee, Wisconsin in order to return a sweatshirt to Damerius WALTON-SMITH, an

acquaintance from middle school whom she had spent time with several days prior. When Victim

#1 drove up to Walton-Smith, he entered the passenger seat of her vehicle and began to make small

talk with her. As Victim #1 and WALTON-SMITH were speaking, an unknown male (Subject #1)

approached from the rear of her vehicle, opened her driver side door, and put a black semiautomatic


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handgun directly to the side of her head. Subject #1 loudly said, ಯGet out the car, get out the car.”

Because Subject #1 was standing in the opening of the door, Victim #1 asked if he would step

back so that she could get out of her car. When Victim #1 stepped out of the car, Subject #1 got in

the driverಬs seat and a second unknown male (Subject #2) got in the passenger seat. Subject #1 and

Subject #2 then fled in Victim #1ಬs vehicle southbound through the alley. Victim #1ಬs main cell

phone was still in the center console of the vehicle; however, she had a second cell phone on her

person that she used to call the police. Victim #1 was then able to track her main cell phone using

the track my iPhone app which she relayed to the police.

       11.     Subject #1 was described as a black male, late teens, slim build, ಯtaller”, medium

complexion, clean shaven, wearing a grey t-shirt, black pants, no mask and no gloves.

       12.     Subject #2 was described as a black male, teens, heavy build, medium complexion,

short hair, wearing a bright orange hooded sweatshirt, black pants, no mask and no gloves.

       13.     At approximately 4:55 PM, officers from the Milwaukee Police Department (MPD)

located Victimಬs vehicle parked in the area of 3423 West Hadley Street, Milwaukee, Wisconsin.

Officers observed one subject sitting in the passenger seat of the vehicle and a second subject

actively throwing contents from Victim #1ಬs vehicle into a dumpster. MPD officers observed that

the subjects matched the physical and clothing descriptions given by Victim #1.

       14.     As the subjects were being taken into custody, officers observed a black Glock 19

semiautomatic pistol with serial number BADK657, matching the one described by Victim #1, in

the lap of Jailen JENKINS-YATES. A search incident to arrest of JENKINS-YATES also located

a silver LG cell phone in his pants pocket. JENKINS-YATESಬs physical and clothing description

closely matches those of Subject #1 provided by Victim #1.



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       15.      MPD Officers also located a black Apple iPhone in Victim #1ಬs vehicle. The phone

was determined to belong to Subject #2, identified as Amareontae CLAYTON, DOB: xx/xx/2004.

The phone is currently in MPD Evidence under Inventory #20035995.

IV.    TECHNICAL TERMS

       16.      Based on my training and experience, I use the following technical terms to convey

the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or

                traditional “land line” telephones. A wireless telephone usually contains a “call

                log,” which records the telephone number, date, and time of calls made to and from

                the phone. In addition to enabling voice communications, wireless telephones offer

                a broad range of capabilities. These capabilities include: storing names and phone

                numbers in electronic “address books;” sending, receiving, and storing text

                messages and e-mail; taking, sending, receiving, and storing still photographs and

                moving video; storing and playing back audio files; storing dates, appointments,

                and other information on personal calendars; and accessing and downloading

                information from the Internet. Wireless telephones may also include global

                positioning system (“GPS”) technology for determining the location of the device.

             b. Digital camera: A digital camera is a camera that records pictures as digital picture

                files, rather than by using photographic film. Digital cameras use a variety of fixed

                and removable storage media to store their recorded images. Images can usually be



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    retrieved by connecting the camera to a computer or by connecting the removable

    storage medium to a separate reader. Removable storage media include various

    types of flash memory cards or miniature hard drives. Most digital cameras also

    include a screen for viewing the stored images. This storage media can contain any

    digital data, including data unrelated to photographs or videos.

 c. Portable media player: A portable media player (or ಯMP3 Player” or iPod) is a

    handheld digital storage device designed primarily to store and play audio, video,

    or photographic files. However, a portable media player can also store other digital

    data. Some portable media players can use removable storage media. Removable

    storage media include various types of flash memory cards or miniature hard drives.

    This removable storage media can also store any digital data. Depending on the

    model, a portable media player may have the ability to store very large amounts of

    electronic data and may offer additional features such as a calendar, contact list,

    clock, or games.

 d. GPS: A GPS navigation device uses the Global Positioning System to display its

    current location. It often contains records of the locations where it has been. Some

    GPS navigation devices can give a user driving or walking directions to another

    location. These devices can contain records of the addresses or locations involved

    in such navigation. The Global Positioning System (generally abbreviated ಯGPS”)

    consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite contains an

    extremely accurate clock. Each satellite repeatedly transmits by radio a

    mathematical representation of the current time, combined with a special sequence

    of numbers. These signals are sent by radio, using specifications that are publicly



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                available. A GPS antenna on Earth can receive those signals. When a GPS antenna

                receives signals from at least four satellites, a computer connected to that antenna

                can mathematically calculate the antennaಬs latitude, longitude, and sometimes

                altitude with a high level of precision.

             e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

                for storing data (such as names, addresses, appointments or notes) and utilizing

                computer programs. Some PDAs also function as wireless communication devices

                and are used to access the Internet and send and receive e-mail. PDAs usually

                include a memory card or other removable storage media for storing data and a

                keyboard and/or touch screen for entering data. Removable storage media include

                various types of flash memory cards or miniature hard drives. This removable

                storage media can store any digital data. Most PDAs run computer software,

                giving them many of the same capabilities as personal computers. For example,

                PDA users can work with word-processing documents, spreadsheets, and

                presentations. PDAs may also include global positioning system (ಯGPS”)

                technology for determining the location of the device.

             f. Internet: The Internet is a global network of computers and other electronic

                devices that communicate with each other. Due to the structure of the Internet,

                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the same

                state.

       17.      Based on my knowledge, training, and experience, as well as my conversations with

other Special Agents of the Federal Bureau of Investigation, who are experienced with electronic



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communication systems, I know that the electronic Devices described above have capabilities that

allow them to serve as a wireless telephone, digital camera, portable media player, GPS navigation

device, and PDA. In my training and experience, examining data stored on devices of this type can

uncover, among other things, evidence that reveals or suggests who possessed or used the device.

V.     ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       18.     Based on my knowledge, training, and experience, as well as my conversations with

other Special Agents of the Federal Bureau of Investigation, who are experienced with electronic

communication systems, I know that electronic devices can store information for long periods of

time. Similarly, things that have been viewed via the Internet are typically stored for some period

of time on the Devices. This information can sometimes be recovered with forensics tools.

       19.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Devices

were used, the purpose of use, who used it, and when.

       20.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to, computer-assisted scans of the entire medium that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

       21.     Manner of execution. Because this warrant seeks only permission to examine

devices already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premise. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.




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VI.    CONCLUSION

       22.    Based on the facts contained within this affidavit, I believe that probable cause

exists to search the Device, which is more particularly described in Attachment A, and which is

currently located in evidence at the Milwaukee Police Department, for evidence of the

aforementioned armed carjacking, including but not limited to the information contained in

Attachment B.




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                                      ATTACHMENT A


                                   Property to Be Searched


The property to be searched is:

           a. A silver LG cellular telephone currently in MPD evidence under Inventory

               #20035997.

The Device is currently in evidence at the Milwaukee Police Department.

       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

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                                        ATTACHMENT B


                                Particular Things to be Seized


       1.       All records on the Device described in Attachment A that relate to violations of

Title 18, United States Code, Section 2119 (Carjacking), and Title 18, United States Code, Section

924(c) (Use of a Firearm during a Crime of violence) involving Jailen JENKINS-YATES or any

other subject, stored on the Device, to include:

             a. any information related to possession of firearms or ammunition (including

                photographs, text messages, emails, or any other communication information);

             b. any information recording any targetsಬschedule or travel;

             c. any web search information related to the offenses described above;

             d. photographs of locations evidencing pre-carjacking surveillance or vehicles or

                people related to the offenses described above;

             e. any information related to the proceeds from the carjacking described above;

             f. any communications via text messages, email, Facebook, Twitter, or other web-

                based applications between the subjects and others regarding the offenses

                described above; and

             g. all bank records, checks, credit card bills, account information, and other financial

                records.

       2.       Evidence of user attribution showing who used or owned the devices at the time the

things described in this warrant were created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history.




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       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of electronic storage and any photographic form.




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